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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA                               Crim. No. 12-453(FSH)

       v.

JONG-HYEK PARK                                         REPORT & RECOMMENDATION


       This matter having come before the Court by way of referral from the Hon. FaithS.

Hochberg to conduct a proceeding pursuant to Fed. R. Crim. P. 11 and to issue a report and

recommendation regarding the defendant's entry of a guilty plea; and the Court having

considered the written consent by the defendant and defense counsel to have the proceeding

before the Undersigned; and the Undersigned having conducted a proceeding pursuant to Fed. R.

Crim. P. 11; and as more fully set forth and reflected in the transcript of proceedings dated

December 19,2012, the Court makes the following report:

       1. The defendant consented to the entry of a guilty plea before a United States Magistrate

Judge, subject to the defendant's ability to file any written objections to the findings and

recommendations contained in this report and orally stated at the Rule 11 proceeding and subject

to its adoption by the United States District Judge;

       2. The defendant fully understood the oath and consequences of failing to tell the truth at

the plea hearing;

       3. The defendant fully understood the nature of the charges and the consequences of the

guilty plea, including the maximum penalties that the defendant faces;

       4. The defendant fully understood that while the United States Sentencing Guidelines

are not binding, they will be considered;

       5. The defendant fully understood the right to plead "not guilty" and to be tried by a jury,
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with the assistance of counsel, and that the defendant would have the right to confront and cross-

examine witnesses, call witnesses and compel the production of evidence if the defendant so

chose, and to remain silent or testify, if the defendant so chose;

        6. The defendant fully understood that if the guilty plea is accepted, then there would be

no trial in this case;

        7. The defendant was fully competent and capable of entering an informed guilty plea;

        8. The defendant's waiver of the right to file an appeal and to file a post-conviction

challenge, and the plea were free, knowing, and voluntary; and

        9. There is a factual basis to support the plea of guilty.

        Based upon the foregoing, and based upon the transcript of the proceedings, it is on this

19th day of December, 2012, recommended to the United States District Judge that the

defendant's plea of guilty be accepted and that a judgment of guilt to Count One of the

Indictment be entered.

                                                       Respectfully,


                                                       s/Patty Shwartz
                                                       United States Magistrate Judge

                                              NOTICE

        FAILURE TO FILE WRITTEN OBJECTIONS TO THE FINDINGS AND
        RECOMMENDATIONS CONTAINED IN THE FOREGOING REPORT, WITHIN
        FOURTEEN DAYS OF RECEIPT OF SAME, MAY BAR DE NOVO DETERMINATION
        BY THE UNITED STATES DISTRICT JUDGE OF AN ISSUE COVERED HEREIN AND
        SHALL BAR APPELLATE REVIEW OF SUCH FACTUAL FINDINGS AS MAY BE
        ACCEPTED OR ADOPTED BY THE UNITED STATES DISTRICT JUDGE.
